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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 7

AKORN HOLDING COMPANY LLC, et                                   Case No. 23-10253 (KBO)
al.1,
                                                                (Jointly Administered)
                       Debtors.
                                                                Re D.I. 106, 137, 205, 206, 212


   ORDER (A) APPROVING THE SALE OF CERTAIN OF THE ESTATES’ ASSETS
(SPECIFIC “ANDAs” and SHARES) TO SENTISS AG or its ASSIGNS, (B) APPROVING
  THE ASSET AND SHARE PURCHASE AGREEMENT BETWEEN THE TRUSTEE
      AND SENTISS AG, AND (C) GRANTING CERTAIN RELATED RELIEF


         This matter is before the Court on the Trustee’s Motion for Entry of (I) an Order (A)

Approving Bidding Procedures in Connection With Sale of Substantially all of the Estates’ Assets,

(B) Scheduling an Auction and Hearing to Consider the Proposed Sale and (C) Approving the

Form and Manner of Notice Thereof; and (II) an Order (A) Approving the Sale, (B) Authorizing

the Assumption and Assignment of Executory Contracts and Unexpired Leases, and (C) Granting

Certain Related Relief (the “Sale Motion”)[D.I. 106].2 The Court granted, in part, the relief sought

in the Sale Motion by its Order Granting Trustee’s Motion for Entry of an Order (A) Approving

Bidding Procedures in Connection With Sale of Substantially All of the Estates’ Assets, (B)

Scheduling an Auction and Hearing to Consider the Proposed Sale and (C) Approving the Form

and Manner of Notice Thereof dated April 28, 2023 (the “Bidding Procedures Order”) [D.I. 137]

approving, among other things, the Bidding Procedures and the Notice Procedures.                                 As a


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  The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23- 10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
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  Unless otherwise defined in this Order, all capitalized terms shall have the meanings provided in the Sale Motion
and/or the applicable Purchase Agreement.



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consequence of the entry of the Bidding Procedures Order, numerous parties submitted bids for

various “lots” of the Estates’ assets allowing the Trustee to conduct an auction as provided in the

Bidding Procedures Order. The Trustee having determined, after an extensive marketing process

and the Auction, that Sentiss AG (together with its assigns, as applicable, “Sentiss” or

“Purchaser”)3 has submitted the highest and best bid for the Purchased Assets (defined as all of

the assets and shares that are the subject of that certain asset and share purchase agreement

executed and delivered by Sentiss on or about May 18, 2023 (“Sentiss ASPA”), together with all

ancillary documents executed in conjunction with or as a consequence of the Sentiss ASPA (the

“Sentiss Purchase Agreement”)); and adequate and sufficient notice of the Bidding Procedures,

the Purchase Agreements (including, without limitation, the Sentiss Purchase Agreement), and all

transactions contemplated thereunder and in this Order having been given in the manner directed

by the Court in the Bidding Procedures Order; and all interested parties having been afforded an

opportunity to be heard with respect to the Sale Motion and all relief related thereto; and the Court

having reviewed and considered the Sale Motion and all relief related thereto, and noting that no

objections were filed thereto or, to the extent objections have been filed, any such objections

related to the Sentiss Purchase Agreement and/or the Purchased Assets have been resolved by the

parties or overruled by the Court, and having held a hearing regarding the Sale Motion as it relates

to the Sentiss Purchase Agreement and the Purchased Assets on May 19, 2023 (the “Sale

Hearing”); and it appearing that the Court has jurisdiction over this matter; and it further appearing

that the legal and factual bases set forth in the Sale Motion and at the Sale Hearing establish just

cause for the relief granted herein; and after due deliberation; and good and sufficient cause



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 In the event that Sentiss assigns, or purports to assign, any of its rights under the Sentiss Purchase Agreement, Sentiss
shall nonetheless remain fully liable and obligated to the Trustee and the Estates pursuant to full extent of the Sentiss
Purchase Agreement.


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appearing,

         THE COURT HEREBY FINDS AND DETERMINES THAT:4

                          Jurisdiction, Final Order, and Statutory Predicates

         A.       This Court has jurisdiction to hear and determine the Sale Motion pursuant to 28

U.S.C. § 1334(a). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N), and (O).

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.       The statutory predicates for the relief requested in the Sale Motion are sections

105(a), 363, and 365 of the Bankruptcy Code, and Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007,

and 9014.

         C.       This Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary under

Bankruptcy Rule 9014 and Federal Rule of Civil Procedure 54(b), as made applicable by

Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for delay in the

implementation of this Order and accordingly the stay afforded by Bankruptcy Rules 6004(h) and

6006(d) are hereby waived.

                                        Notice of the Sale and Auction

         D.       Actual written notice of the Sale Motion was provided to the Notice Parties.

         E.       The Trustee’s Notice of Auction and Sale Hearing was reasonably calculated to

provide all interested parties with timely and proper notice of the Sale, Sale Hearing, and Auction.




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  These findings and conclusions constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy
Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. All findings of fact and conclusions
of law announced by the Court at the Sale Hearing in relation to the Sale Motion are hereby incorporated herein to the
extent not inconsistent herewith. To the extent that any of the following findings of fact constitute conclusions of law,
they are adopted as such. To the extent any of the following conclusions of law constitute findings of fact, they are
adopted as such.


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         F.       As evidenced by the certificates of service previously filed with the Court, proper,

timely, adequate, and sufficient notice of the Sale Motion, Auction, Sale Hearing, Sale, and the

transactions contemplated thereby have been provided in accordance with the Bidding Procedures

Order, sections 105(a), 363, and 365 of the Bankruptcy Code, and Bankruptcy Rules 2002, 6004,

6006, and 9007. The notices described above were good, sufficient, and appropriate under the

circumstances, and no other or further notice of the Sale Motion, Auction, Sale Hearing and Sale.

         G.       The disclosures made by the Trustee concerning the Sale Motion, Auction,

Purchase Agreements, Sale and Sale Hearing were good, complete, and adequate.

         H.       A reasonable opportunity to object and be heard with respect to the Sale and the

Sale Motion and the relief requested therein has been afforded to all interested persons and entities,

including but not necessarily limited to the Notice Parties.

                                      Good Faith of Purchasers

         I.       The Sentiss Purchase Agreement was negotiated, proposed, and entered into by the

Trustee and the Purchaser without collusion, in good faith, and from arm’s-length bargaining

positions.

         J.       Neither the Trustee nor the Purchaser has engaged in any conduct that would cause

or permit the Sentiss Purchase Agreement to be avoided under section 363(n) of the Bankruptcy

Code. Specifically, the Purchaser has not acted in a collusive manner with any person and the

Purchase Price was not controlled by any agreements among Purchaser and any other person.

         K.       The Purchaser is purchasing the Purchased Assets in good faith, and are good faith

buyers within the meaning of section 363(m) of the Bankruptcy Code, and are therefore entitled

to all of the protections afforded by that provision, and otherwise have proceeded in good faith in

all respects in connection with this proceeding in that, inter alia: (a) the Purchaser recognized that




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the Trustee was free to deal with any other party interested in acquiring the Purchased Assets; (b)

the Purchaser complied with the provisions in the Bidding Procedures Order; (c) the Purchaser

agreed to subject its bids to the competitive bidding procedures set forth in the Bidding Procedures

Order; (d) the Purchaser in no way induced or caused the filing of the Bankruptcy Cases; and (e)

all payments to be made by the Purchaser in connection with the Sale have been disclosed.

                                      Highest and Best Offer

          L.      The Trustee conducted an auction process in accordance with, and has otherwise

complied in all respects with, the Bidding Procedures Order. The auction process set forth in the

Bidding Procedures Order afforded a full, fair, and reasonable opportunity for any person or entity

to make a higher or otherwise better offer to purchase the Purchased Assets. The auction process

was duly noticed and conducted in a non-collusive, fair, and good faith manner, and a reasonable

opportunity was given to any interested party to make a higher and better offer for the Purchased

Assets.

          M.      The Sentiss Purchase Agreement constitutes the highest and best offer for the

Purchased Assets, and will provide a greater recovery for the Estates than would be provided by

any other available alternative with respect to the Purchased Assets acquired by Purchaser. The

Trustee’s determination that the Sentiss Purchase Agreement constitutes the highest and best offer

for the Purchased Assets constitutes a valid and sound exercise of the Trustee’s business judgment.

                                     No Fraudulent Transfer

          N.      The consideration provided by the Purchaser pursuant to the Sentiss Purchase

Agreement (i) is fair and reasonable, (ii) constitutes the highest and/or best offers for the Purchased

Assets, and (iii) constitutes reasonably equivalent value and fair consideration for the Purchased

Assets. No other person or entity or group of entities has offered to purchase the Purchased Assets




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for greater economic value to the Estates than the Purchaser. Approval of the Sale Motion as it

relates to the Sentiss Purchase Agreement and the Purchased Assets, approval of the Sentiss

Purchase Agreement, and the consummation of the transactions contemplated thereby are in the

best interests of the Estates.

         O.       The Purchaser is not a mere continuation of the Debtors or the Estates, and no

continuity of enterprise exists between the Purchaser and the Debtors or the Estates. The Purchaser

is not holding itself out to the public as continuations of the Debtors or the Estates. The Purchaser

is not a successor to the Debtors or the Estates, and the acquisition of the Purchased Assets by

Purchaser does not amount to consolidations, mergers, or de facto mergers of the Purchaser and

the Debtors or the Estates.

                                        Validity of Transfer

         P.       The Sentiss Purchase Agreement was not entered into for the purpose of hindering,

delaying, or defrauding creditors. Neither the Trustee nor the Purchaser is entering into the

transactions contemplated by the Sentiss Purchase Agreement fraudulently for purposes of

statutory and/or common law fraudulent conveyance and fraudulent transfer laws.

         Q.       The Estates are the sole and lawful owners of the Purchased Assets. Subject to

section 363(f) of the Bankruptcy Code, the transfers of the Purchased Assets to the Purchaser will

be, as of the Closing Date, legal, valid, and effective transfers of the Purchased Assets, which

transfer will vest the Purchaser with all right, title, and interest of the Estates to the Purchased

Assets free and clear of: (a) all liens and encumbrances relating to, accruing or arising any time

prior to the Closing Date (collectively, “Liens”), and (b) all claims (as that term is defined in

section 101(5) of the Bankruptcy Code), liabilities, obligations, demands, guaranties, options,

rights, contractual commitments, restrictions, interests, and matters of any kind and nature,




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whether arising prior to or subsequent to the Petition Date, and whether imposed by agreement,

understanding, law, equity, or otherwise (including, without limitation, rights with respect to

Claims and Liens (i) that purport to give to any party a right of setoff or recoupment against, or a

right or option to effect any forfeiture, modification, profit sharing interest, right of first refusal,

purchase or repurchase right or option, or termination of, any of the Estates’ or the Purchasers’

interests in the Purchased Assets, or any similar rights, or (ii) in respect of taxes, restrictions, rights

of first refusal, charges, or interests of any kind or nature, if any, including, without limitation, any

restriction of use, voting, transfer, receipt of income, or other exercise of any attributes of

ownership) (collectively, as defined in this clause (b), “Claims”), relating to, accruing, or arising

any time prior to the Closing Date.

                                      Section 363(f) is Satisfied

         R.       The conditions of section 363(f) of the Bankruptcy Code have been satisfied in full;

therefore, the Trustee may sell the Purchased Assets free and clear of any interest in the property.

         S.       The Purchaser would not have entered into the Purchase Agreements, and would

not consummate the transactions contemplated thereby, if the sales of the Purchased Assets to the

Purchaser were not free and clear of all Liens and Claims and interests. The Purchaser shall not be

responsible for any Liens or Claims or interests other than Liabilities which have been expressly

assumed by the Purchaser pursuant to the Sentiss Purchase Agreement.

         T.       The Trustee may sell the Purchased Assets free and clear of all Liens and Claims

and interests against the Estates and/or any of the Purchased Assets because, in each case, one or

more of the standards set forth in section 363(f)(1)-(5) of the Bankruptcy Code have been satisfied.

Those holders of Liens or Claims against the Estates or any of the Purchased Assets who did not

object, or who withdrew their objections, to the Sale or the Sale Motion are deemed to have




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consented pursuant to section 363(f)(2) of the Bankruptcy Code with respect to the Sentiss

Purchase Agreement and the Purchased Assets. All other holders of Liens or Claims related to the

Purchased Assets and/or the Sentiss Purchase Agreement are adequately protected by having their

Liens or Claims, if any, in each instance against the Estates or any of the Purchased Assets, attach

to the net cash proceeds of the Sale ultimately attributable to the particular Purchased Assets in

which such creditor alleges a Lien or Claim, in the same order of priority, with the same validity,

force and effect that such Lien or Claim had prior to the Sale, subject to any claims and defenses

that the Estates may possess with respect thereto.

                          Compelling Circumstances for an Immediate Sale

         U.       Good and sufficient reasons for approval of the Sentiss Purchase Agreement and

the Sale of the Purchased Assets have been articulated. The relief requested in the Sale Motion

applicable to the Sentiss Purchase Agreement and the Purchased Assets is in the best interests of

the Estates. The Trustee has demonstrated both (i) good, sufficient, and sound business purposes

and justifications, and (ii) compelling circumstances for the Sales other than in the ordinary course

of business, pursuant to section 363(b) of the Bankruptcy Code in that, among other things, the

immediate consummation of the Sale to the Purchaser is necessary and appropriate to maximize

the value of the Estates. Time is of the essence in consummating the Sale.

         V.       Given all of the circumstances of the Bankruptcy Cases and the adequacy and fair

value of the Purchase Price under the Sentiss Purchase Agreement, the proposed Sale of the

Purchased Assets to the Purchaser constitutes a reasonable and sound exercise of the Trustee’s

business judgment and should be approved.

         W.       The consummation of the Sale is legal, valid, and properly authorized under all

applicable provisions of the Bankruptcy Code, including, without limitation, sections 105(a),




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363(b), 363(f), 363(m), and 365, and all of the applicable requirements of such sections have been

complied with in respect of the transaction.

         NOW, THEREFORE, IT IS HEREBY ORDERED:

                                          General Provisions

         1.       The relief requested in the Sale Motion is granted and approved as set forth herein,

and the Sale to Purchaser as contemplated in the Sale Motion is approved.

         2.       All objections to the Sale Motion or the relief requested therein, as applicable to

the Sentiss Purchase Agreement and the Purchased Assets, that have not been withdrawn, waived,

or settled as announced to the Court at the Sale Hearing or by stipulation filed with the Court, and

all reservations of rights included therein, are hereby denied and overruled with prejudice.

                              Approval of the Sentiss Purchase Agreement

         3.       The Sentiss Purchase Agreement (and all schedules and exhibits affixed thereto)

and all other ancillary documents, all of the terms and conditions thereof, and the transactions

contemplated therein are hereby approved and authorized.

         4.       Pursuant to sections 363(b) and (f) of the Bankruptcy Code, the Trustee is

authorized and empowered to take any and all actions necessary or appropriate to: (i) consummate

the Sale of the Purchased Assets to the Purchaser pursuant to and in accordance with the terms and

conditions of the Sentiss Purchase Agreement and this Order; (ii) close the Sale as contemplated

in the Sentiss Purchase Agreement and this Order; and (iii) execute and deliver, perform under,

consummate, implement, and close fully the Sentiss Purchase Agreement, together with all

additional instruments and documents that may be reasonably necessary or desirable to implement

the Sentiss Purchase Agreement and the Sale.




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         5.       This Order shall be binding in all respects upon the Trustee, the Estates, the

Debtors, all creditors of, and holders of equity interests in, the Debtors, any holders of Liens,

Claims, or other interests in, against, or on all or any portion of the Purchased Assets (whether

known or unknown), the Purchaser and all successors and assigns of the Purchaser, and the

Purchased Assets. This Order and the Sentiss Purchase Agreement shall inure to the benefit of the

Estates and their creditors, the Purchaser, and the respective successors and assigns of each of the

foregoing.

                                    Transfer of the Purchased Assets

         6.       Pursuant to sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, the Trustee

is authorized to transfer the Purchased Assets to the Purchaser on the Closing Date (as defined in

the Sentiss Purchase Agreement) and, upon the Closing under the Sentiss Purchase Agreement,

such transfers shall constitute legal, valid, binding, and effective transfers of such Purchased

Assets and shall vest the Purchaser with title to the Purchased Assets and, upon the Trustee’s

receipt of the full Purchase Price as set forth in the Sentiss Purchase Agreement, shall be free and

clear of all Liens, Claims, and other interests of any kind or nature whatsoever, including but not

limited to, successor or successor-in-interest liability and Claims, with all such Liens, Claims or

other interests to attach to the net cash proceeds ultimately attributable to the property against or

in which such Liens, Claims, or interests are asserted, subject to the terms thereof, with the same

validity, force and effect, and in the same order of priority, that such Liens, Claims, or interests

now have against the Purchased Assets. Upon the Closing, the Purchaser shall take title to and

possession of the Purchased Assets free and clear of all such Liens, Claims and interests.

         7.       In accordance with the written Sharing Agreement by and among the Trustee, the

ABL Agent and TL Agent, to the extent approved by the Court or as modified by later Order of




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the Court (the “Sharing Agreement”), upon consummation of the Sale approved hereby, the

Trustee is authorized to indefeasibly pay via wire transfer the allowed ABL Claim Amount and

allowed TL Claim Amount (as such terms are defined in the Sharing Agreement); provided that if

one or more additional Sale transactions must be consummated before full payment of such

allowed claims is feasible, then the Trustee is authorized to make such payments as and when such

other transactions are consummated.

         8.       All persons and entities in possession of some or all of the Purchased Assets on the

Closing Date are directed to surrender possession of such Purchased Assets to the Purchaser or its

assignee at the Closing. On the Closing Date, each of the Estates’ creditors is authorized and

directed to execute such documents and take all other actions as may be reasonably necessary to

release its Liens, Claims, or other interests in the Purchased Assets, if any, as such Liens, Claims,

or interests may have been recorded or may otherwise exist.

         9.       On the Closing Date, this Order shall be construed and shall constitute for any and

all purposes a full and complete general assignment, conveyance, and transfer of the Estates’

interests in the Purchased Assets. Each and every federal, state, and local governmental agency or

department is hereby directed to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Purchase Agreements.

         10.      A certified copy of this Order may be filed with the appropriate clerk and/or

recorded with the recorder to act to cancel any Liens and other encumbrances of record.

         11.      If any person or entity that has filed statements or other documents or agreements

evidencing Liens on, or interests in, all or any portion of the Purchased Assets shall not have

delivered to the Trustee prior to the Closing, in proper form for filing and executed by the

appropriate parties, termination statements, instruments of satisfaction, releases of liens and




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easements, and any other documents necessary for the purpose of documenting the release of all

Liens, Claims, or other interests that the person or entity has or may assert with respect to all or

any portion of the Purchased Assets, the Trustee is hereby authorized and directed, and the

Purchaser is hereby authorized, to execute and file such statements, instruments, releases, and other

documents on behalf of such person or entity with respect to the Purchased Assets.

         12.      This Order is and shall be effective as a determination that, on the Closing Date, all

Liens, Claims, or other interests of any kind or nature whatsoever existing as to the Purchased

Assets prior to the Closing Date, shall have been unconditionally released, discharged, and

terminated, and that the conveyances described herein have been effected. This Order is and shall

be binding upon and govern the acts of all persons and entities, including, without limitation, all

filing agents, filing officers, title agents, title companies, recorders of mortgages, recorders of

deeds, registrars of deeds, administrative agencies, governmental departments, secretaries of state,

federal, state and local officials, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register, or otherwise record

or release any documents or instruments, or who may be required to report or insure any title or

state of title in or to any lease; and each of the foregoing persons and entities is hereby directed to

accept for filing any and all of the documents and instruments necessary and appropriate to

consummate the transactions contemplated by the Purchase Agreements.

                             Prohibition of Actions against the Purchasers

         13.      Except as otherwise provided in this Order or the Sentiss Purchase Agreement, the

Purchaser shall not have any liability or other obligation to the Estates arising under or related to

any of the Purchased Assets. Without limiting the generality of the foregoing, and except as

otherwise provided herein or in the Sentiss Purchase Agreements, the Purchasers shall not be liable




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for any Claims against the Estates, and the Purchasers shall have no successor or vicarious

liabilities of any kind or character, including, but not limited to, under any theory of antitrust,

environmental, successor or transferee liability, labor law, de facto merger, mere continuation, or

substantial continuity, whether known or unknown as of the Closing Date, now existing or

hereafter arising, whether fixed or contingent, whether asserted or unasserted, whether legal or

equitable, whether liquidated or unliquidated.

         14.      All persons and entities holding Liens, Claims, or other interests of any kind or

nature whatsoever against or in all or any portion of the Purchased Assets (whether legal or

equitable, secured or unsecured, matured or unmatured, contingent or non-contingent, liquidated

or unliquidated, senior or subordinate), hereby are forever barred, estopped, and permanently

enjoined from asserting against the Purchaser, its Affiliates, their successors or assigns, their

property, or the Purchased Assets, such persons’ or entities’ Liens, Claims, or interests in and to

the Purchased Assets, including, without limitation, the following actions: (i) commencing or

continuing in any manner any action or other proceeding against the Purchaser, its Affiliates, their

successors, assets or properties; (ii) enforcing, attaching, collecting, or recovering in any manner

any judgment, award, decree, or order against the Purchaser, its Affiliates, their successors, assets

or properties; (iii) creating, perfecting, or enforcing any Lien or other Claim against the Purchaser,

its Affiliates, their successors, assets, or properties; (iv) asserting any setoff, right of subrogation,

or recoupment of any kind against any obligation due the Purchaser, its Affiliates, or their

successors; (v) commencing or continuing any action, in any manner or place, that does not comply

or is inconsistent with the provisions of this Order or other orders of the Court, or the agreements

or actions contemplated or taken in respect thereof; or (vi) revoking, terminating or failing or

refusing to transfer or renew any license, permit, or authorization to operate any of the Purchased




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Assets or conduct any of the businesses operated with the Purchased Assets. On the Closing Date,

each creditor is authorized and directed to execute such documents and take all other actions as

may be necessary to release Liens, Claims, and other interests in or on the Purchased Assets, if

any, as provided for herein, as such Liens, Claims, or interests may have been recorded or may

otherwise exist.

         15.      All persons and entities are hereby forever prohibited and enjoined from taking any

action that would adversely affect or interfere with the ability of the Trustee to sell and transfer

the Purchased Assets to the Purchaser in accordance with the terms of the Purchase Agreements

and this Order.

         16.      The Purchaser has given substantial consideration under the Sentiss Purchase

Agreement for the benefit of the Estates. The consideration given by the Purchaser shall constitute

valid and valuable consideration for the releases of any potential Claims and Liens pursuant to this

Order, which releases shall be deemed to have been given in favor of the Purchaser by all holders

of Liens against or interests in, or Claims against, the Estates or any of the Purchased Assets. The

consideration provided by the Purchaser for the Purchased Assets under the Sentiss Purchase

Agreement is fair and reasonable and may not be avoided under section 363(n) of the Bankruptcy

Code.

         17.      Nothing in this Order or the Sentiss Purchase Agreement releases, nullifies, or

enjoins the enforcement of any liability to a governmental unit under police and regulatory statutes

or regulations that any entity would be subject to as the owner or operator of property after the

date of entry of this Order. Nothing in this Order or the Sentiss Purchase Agreement authorizes

the transfer or assignment the Purchaser of any license, permit, registration, authorization, or

approval of or with respect to a governmental unit without the applicable Purchaser’s complying




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with all applicable legal requirements under non-bankruptcy law governing such transfers or

assignments.

                                           Other Provisions

         18.      The transactions contemplated by the Sentiss Purchase Agreement are undertaken

by the Purchaser without collusion and in good faith, and accordingly, the reversal or modification

on appeal of the authorization provided herein to consummate the Sale shall not affect the validity

of the Sale, unless such authorization and the Sale to Purchaser is duly stayed pending such appeal.

The Purchaser is a good faith buyer and, as such, shall have the full protections of section 363(m)

of the Bankruptcy Code.

         19.      Pursuant to Federal Rules of Bankruptcy Procedure 7062, 9014, 6004(h), and

6006(d), this Order shall be effective immediately upon entry and the Trustee and the Purchaser

are authorized to close the Sale immediately upon entry of this Order.

         20.      Nothing in this Order or the Sentiss Purchase Agreement approves or provides for

the transfer to the Purchaser of any avoidance claims (whether under chapter 5 of the Bankruptcy

Code or otherwise) of the Estates.

         21.      No bulk sales law or any similar law of any state or other jurisdiction applies in any

way to the Sales.

         22.      The failure specifically to reference any particular provision of the Sentiss Purchase

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Sentiss Purchase Agreement and documents executed in connection

therewith or contemplated therein are authorized and approved in their entirety; provided,

however, that this Order shall govern if any inconsistency exists between the Sentiss Purchase




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Agreement (including all ancillary documents executed in connection therewith) and this Order.

Likewise, all of the provisions of this Order are nonseverable and mutually dependent.

         23.      The Sentiss Purchase Agreement and any related agreements, documents, or other

instruments may be modified, amended, or supplemented by the parties thereto and in accordance

with the terms thereof, without further order of the Court, provided that any such modification,

amendment, or supplement does not have a material adverse effect on the Estates.

         24.      The Court shall retain jurisdiction to, among other things, interpret, implement, and

enforce the terms and provisions of this Order and the Sentiss Purchase Agreement, all

amendments thereto and any waivers and consents thereunder and each of the agreements executed

in connection therewith to which the Trustee is party or which has been assigned by the Trustee to

the Purchaser, and to adjudicate, if necessary, any and all disputes concerning or relating in any

way to the Sale, including, but not limited to, retaining jurisdiction to: (a) compel delivery of the

Purchased Assets to the Purchaser; (b) interpret, implement, and enforce the provisions of this

Order; (c) protect the Purchasers against any alleged Liens, Claims, or other interests in or against

the Purchased Assets of any kind or nature whatsoever; and (d) enter any orders under sections

363 and/or 365 of the Bankruptcy Code with respect to the Assigned Contracts/Leases.

         25.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         26.      To the extent that this Order is inconsistent with any prior order or pleading with

respect to the Sale Motion, the terms of this Order shall govern.




    Dated: May 19th, 2023                                KAREN B. OWENS
    Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE



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